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                             UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT
                              WEST PALM BEACH DIVISION

  RYAN SEGEV,

         Plaintiff,
  vs.
                                                     CASE NO: 9:19-cv-81252

  LYNN UNIVERSITY, INC., a Florida not-for-profit corporation,
  d/b/a LYNN UNIVERSITY, MIGUEL ATUNES, in
  his official and individual capacities as Assistant Direct of Admissions
  at LYNN UNIVERSITY, and CATHERINE WHARTON in her
  official capacity as Americans with Disabilities Act Compliance Officer
  for LYNN UNIVERSITY,

        Defendants.
  __________________________________________________________/

                                          COMPLAINT

         Plaintiff, RYAN SEGEV, hereby sues LYNN UNIVERSITY, INC., a Florida not-for-

  profit corporation d/b/a LYNN UNIVERSITY, (hereinafter “LYNN”), MIGUEL ATUNES, in

  his official and individual capacities as Assistant Director of Admissions at LYNN

  UNIVERSITY, and CATHERINE WHARTON in her official capacity as Americans with

  Disabilities Act Compliance Officer for LYNN UNIVERSITY, and asserts as follows:

                                 I. NATURE OF THE ACTION

         1.     Plaintiff, RYAN SEGEV, seeks monetary and other relief against Defendant

  LYNN, following Defendant LYNN’S wrongful and unjustified imposition of sanctions against

  Plaintiff, as well as Defendant LYNN’S wrongful violation of Plaintiff’s civil rights; including

  but not limited to, breach of contract; fraud; emotional distress; breach of section 504 of the

  Rehabilitation Act of 1973 (“Section 504”), as amended; violation of the Americans with

  Disabilities Act of 1972 (the “ADA”), as amended by the Americans with Disabilities Act of



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  2008; as well as its refusal to release Plaintiff’s official transcript, bullying, negligence, negligent

  hiring, training, supervision, and retention.

         2.      LYNN’S unjustified actions violated its contract with Plaintiff; the LYNN

  University Academic Catalog; the LYNN Standards of Conduct Policy; the ADA; and Section

  504. Plaintiff is covered by the protections of the ADA and Section 504 against discrimination

  against the disabled.

         3.      LYNN’S arbitrary and capricious conduct and actions, imposed by Lorna Fink, a

  LYNN UNIVERSITY Compliance Officer, among others, have caused Plaintiff grievous harm,

  including thoroughly derailing his education and reasonably anticipated life attainments,

  depriving him of academic and other scholarship opportunities and for obtaining financial aid for

  obtaining a college degree, tarnishing his reputation, and permanently damaging his future career

  and educational prospects.

                                              II. PARTIES

         4.      Plaintiff, RYAN SEGEV, is twenty years old and resides in Palm Beach County,

  Florida. During the events described and asserted in this pleading, Plaintiff was a full-time

  student at LYNN University located in Boca Raton, Florida and living in Wellington, Florida.

         5.      Defendant LYNN owns and operates a private co-educational residential

  institution of higher learning with its campus located at 3601 North Military Trail, Boca Raton,

  Florida 33431. Defendant LYNN has more than 2200 undergraduate students enrolled and is

  ranked in the Best Colleges of Regional Universities South. Defendant LYNN is a Florida not-

  for-profit corporation which receives Federal funds.

         6.      Defendant LYNN’S agents and authorized representatives failed to make

  reasonable accommodations for this disabled young man and failed to comply with their own



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  requirements, resulting in negligence, fraud, emotional distress, breach of contract, violations of

  the ADA and Section 504, and for related acts and omissions alleged herein. LYNN holds itself

  out as an educational institution especially receptive to and appropriate for the needs of the

  disabled.

         7.      Defendant MIGUEL ATUNES, at all times material hereto, was acting within the

  course and scope of his employment and was employed by Defendant LYNN University, located

  at 3601 North Military Trail, Boca Raton, Florida 33431, and upon information and belief, living

  in West Palm Beach, Florida.

         8.      Defendant CATHERINE WHARTON, at all times material hereto, was acting

  within the course and scope of his employment and was employed by Defendant LYNN

  UNIVERSITY, located at 3601 North Military Trail, Boca Raton, Florida 33431, and upon

  information and belief, living in West Palm Beach, Florida.

                                 III. JURISDICTION AND VENUE

         9.      This Court has Federal question and supplemental subject matter jurisdiction over

  this action pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1367 because (1) the claims herein arise

  under Federal law, and (2) the state law claims asserted in this pleading are so closely related to

  and intertwined with Federal law claims so as to form the same case or controversy under Article

  III of the United States Constitution.

         10.     This Court has person jurisdiction over Defendant LYNN as it is located within

  and is conducting business within the Southern District of Florida; more specifically, it is open

  and operating a university located at: 3601 North Military Trail, Boca Raton, Florida 33431.

         11.     Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391

  because a substantial part of the events or omissions giving rise to the claims asserted by Plaintiff



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  in this pleading occurred in this judicial district, and the Defendant LYNN, has its principal

  business office and does business within this district.

                          IV. FACTUAL ALLEGATIONS COMMON TO ALL
                                     CLAIMS FOR RELIEF

         12.       Plaintiff graduated from Wellington Community High School (Wellington High

  School), Wellington, Palm Beach County, Florida, in 2017, with and eighty-five (85) average

  despite his disabilities, which included Asperger’s Syndrome, Dyslexia, Disgraphia, and ADHD.

  Plaintiff was admitted as a student for Fall 2017 and he signed all required contracts and

  admission documents.      Plaintiff RYAN SEGEV was enrolled on a late enrollment status

  approximately two weeks into the semester, and he and his mother both asked MIGUEL

  ATUNES, Assistant Director in Admissions, whether the school would have time to prepare and

  grant Plaintiff RYAN SEGEV’S accommodations prior to the beginning of his classes, and they

  were repeatedly assured that it would not be a problem and that his full accommodations would

  be granted and the paperwork would be prepared on time. Plaintiff RYAN SEGEV asked if it

  would be better to wait until Spring 2018 semester to enroll to ensure that his accommodations

  were provided for, and he assured him again that there was no need to wait to enroll. Plaintiff

  RYAN SEGEV provided Defendant LYNN with his I.E.P. plan detailing the necessary

  accommodations and with his psychological evaluation prior to the beginning of the semester.

  On August 30, 2017 MIGUEL ATUNES sent an email to Richard Ham stating that “We are

  trying to squeeze Ryan in this Fall.” MIGUEL ATUNES’ email makes clear that Defendant

  LYNN would squeeze Plaintiff RYAN SEGEV in and take his $37,000.00 tuition, whether or

  not Defendant LYNN was fully prepared to meet his accommodations. Plaintiff RYAN SEGEV

  began his freshman year at Defendant LYNN during the Fall semester of the 2017-2018

  academic year.

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            13.   As part of its admissions packet, Defendant LYNN provided Plaintiff RYAN

  SEGEV with copies of its school policies, the 2017-2018 Standards of Conduct Policy (the

  Code), and the 2017-2018 Academic Catalog, which codes and policies Defendant LYNN was

  charged with and yet failed to apply and/or comply with. A copy of the Student Code of

  Conduct is available online and is incorporated to this pleading by reference: Student Code of

  Conduct and Conduct Reviews/ LYNN University, Florida. The 2017-2018 Academic Catalog,

  in pertinent part, is attached hereto and incorporated herein by reference and is available in full

  online.

            14.   As aforementioned, the cost of tuition at Defendant LYNN for full-time

  undergraduate students like Plaintiff is approximately $37,000.00, not including books, fees or

  room and board. As Plaintiff RYAN SEGEV began his studies at Defendant LYNN, Plaintiff

  RYAN SEGEV’S family was bearing the full cost of his university education, as Plaintiff RYAN

  SEGEV experienced unresolved problems with K.H.E.A.A. verify system, through which he

  would have obtained financial aid.

            15.   Defendant LYNN assumed responsibility to make reasonable accommodations for

  Plaintiff, in light of his known disabilities and impairments, which included autism spectrum

  disorder, Asperger’s syndrome, ADHD, Dyslexia, Dysgraphia, a susceptibility to threats and

  coercion, emotional and mental impairment, which substantially limited major life activity, such

  as: concentrating, communicating, reading, writing, and brain impairment, as well as known

  difficulty with transitioning to unfamiliar environments and coping with significant changes in

  routine.

            16.   Plaintiff RYAN SEGEV was also enrolled with the Florida Department of

  Education, Vocational Rehabilitation Services. The Florida Department of Education, Vocational



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  Rehabilitation Services through various testing, included a thorough psychological evaluation

  completed by a physician on March 8, 2017, shortly before his high school graduation with

  anticipated matriculation to, and attendance at Defendant LYNN, and determined that his autism

  spectrum disorder required support for deficits in social communication, and required support for

  restricted, repetitive behaviors, without language impairment, and without intellectual

  impairment.

         17.    Defendant LYNN was provided with Plaintiff RYAN SEGEV’S I.E.P history and

  documents through its employee, Defendant MIGUEL ATUNES in the admissions office prior

  to Plaintiff RYAN SEGEV’S matriculation, were provided notice and information that Plaintiff

  RYAN SEGEV’S “daily accommodations,” and, “as-needed accommodations.” On July 24,

  2017, the I.E.P. plan was developed by the Department of Education, Division of Vocational

  Rehabilitation, which stated specifically that LYNN UNIVERSITY was required to provide his

  accommodations as a condition of his enrollment. The I.E.P. was transmitted to Defendant

  LYNN UNIVERSITY prior to RYAN SEGEV’S attendance.                  On August 28, 2017, Erma

  Barmapov-Segev, Plaintiff RYAN SEGEV’S mother emailed Defendant MIGUEL ATUNES a

  copy of Plaintiff RYAN SEGEV’S psychological evaluation for Defendant LYNN’S file and to

  aide and facilitate in Plaintiff RYAN SEGEV’S transition and to ensure his accommodations.

  Plaintiff RYAN SEGEV’S reasonable accommodations included one hundred percent (100%)

  extended time with breaks for tests up to two times the normal time allotted; use of an alternate

  testing environment for exams, check for comprehension and direction of tasks, allow use of

  word processor for writing and/or assistive technology; provide notes and study guides for tests

  and quizzes; cue student to stay on task; allow student to report to ASD teacher when feeling

  stressed/needing assistance; extended time for quizzes and assignments up to one day; use of



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  instructors notes when available; the ability to record class lectures with instructor’s permission;

  notify parents of missing assignments weekly; and oral testing/text to speech for items other than

  reading, and first year leniency for transitioning; maximum of four credits per semester.

         18.     Defendant LYNN, via it’s Academic Catalog and it’s General Academic Policies

  and Accommodations, p. 50, 2017-2018 Academic year, states and binds itself to provide the

  following academic accommodations:

                     As a learning-centered community, Lynn University recognizes that all
                    students should be afforded the opportunity to achieve their academic and
                    individual potential. The university recognizes and supports the standards set
                    forth in Section 504 of the Rehabilitation Act and the Americans with
                    Disabilities Act (ADA). In accordance with our mission and federal and
                    applicable state laws, the university is committed to making reasonable
                    accommodations for qualified applicants for admission and enrolled students
                    with disabilities. It is the policy of the university not to discriminate on the
                    basis of disability in any of its educational services, programs or activities. A
                    disability is a physical or mental impairment that substantially limits one or
                    more of the major life activities of an individual, a record of having such
                    impairment or being regarded as having such impairment. The university has
                    designated Matthew Roche, as the ADA coordinator. Students seeking more
                    information regarding reasonable accommodations or any other related issues
                    should contact Matthew Roche by phone at (561) 237-7728 or via email at
                    roche@lynn.edu for further information regarding specific policies and
                    procedures.

         19.     Defendant LYNN also publishes and contracts with its students that it will comply

  with the ADA, as follows:

                     As a learning-centered community, Lynn University recognizes that all
                    students should be afforded the opportunity to achieve their academic and
                    individual potential. In accordance with the university’s mission as well as
                    federal and applicable state laws, the university is committed to making
                    reasonable accommodations for qualified applicants with documented
                    disabilities under the American with Disabilities Act.            If special
                    accommodations are needed, please contact the ADA compliance officer
                    (Catherine Wharton) to assist in documenting and defining those needs.
                    Accommodations are not retroactive therefore, for any accommodation the
                    instructor must be presented with the form specifying the needs. Issues
                    regarding employment are handled through Employee Services.



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                   It is the policy of the university not to discriminate on the basis of disability in
                   any of its educational services, programs or activities. A disability is a
                   physical or mental impairment that substantially limits one or more of the
                   major life activities of an individual.

                   SERVICES FOR ELEGIBLE STUDENTS UNDER THE ADA:

                   Students who wish to receive ADA accommodations should have the ADA
                   coordinator review their documentation to determine eligibility to receive
                   services and reasonable accommodations provided at the college level.

                   Accommodations may include, but are not limited to:

                   o Use of alternative testing environment for examinations
                   o Extended time on examinations (1.5x) or (2x)
                   o Use of assistive technology (speech to text, text to speech, PDF’s)
                   o Use of computer for written assignments and examinations
                   o Ability to record class lectures (with permission)
                   o Use of calculator for mathematic examinations when appropriate
                   o Use of spellcheck when it does not fundamentally alter a core requirement
                       of an assignment
                   o Scribe for ScanTron examinations
                   o Use of instructor’s, or instructor’s designee notes when available
                   o Relaxation of attendance
                   o No use of red ink
                   o Enlarged font
                   No tests are altered in either format or content by the testing center staff.
                   Readers are only permitted to read the questions exactly as they are written.
                   Testing center staff members proctor all exams.

         20.     Plaintiff RYAN SEGEV made it known that he wished to receive these ADA

  accommodations as aforementioned, and Defendant LYNN’S willingness to do so was a

  substantial factor in his decision to enroll at Defendant LYNN.

         21.     Defendant LYNN also published its Anti-Bullying policies:

                                                  Purpose.


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                The purpose of this policy is to provide guidelines detailing Lynn University’s
                commitment to provide its employees with a workplace that is free of bullying.

                                              Policy.
                Lynn University strives to provide its employees with a workplace that is free
                of bullying. Bullying is the persistent demeaning and downgrading through
                words, actions and communications that erode self-confidence and undermine
                self-esteem.

                It is the responsibility of every individual to ensure that bullying or
                intimidation does not occur at any level within the University. All employees
                should be aware that bullying affects the dignity of people at work, is
                unacceptable, and can be grounds for disciplinary action up to and including
                termination.

                Misconduct constituting bullying will be dealt with promptly and
                appropriately. Responsive action may include, for example, training, referral
                to counseling, monitoring of the offender and/or disciplinary action such as
                warning reprimand, withholding of a promotion or pay increase, reduction of
                wages, demotion, reassignment, temporary suspension without pay or
                termination, as Lynn University believes appropriate under the circumstances.

                Note: Incidents of bullying based on an individual’s sex, sexual orientation,
                sexual identity, gender, gender expression, or gender identity will be
                investigated and resolved pursuant to the University’s Sexual and Gender-
                Based Misconduct Policy.

                Definitions.
                Bullying – any intentional written, verbal or physical that: physically harms an
                employee or damages the employee’s property; or has the effect of
                substantially interfering with an employee’s job performance; or is severe,
                persistent, or pervasive that it creates and intimidating or threating educational
                environment; or has the effect of substantially disrupting the operation of the
                University.

                The following, non-exhaustive list, are examples of bullying behavior that may
                be grounds for disciplinary action up to and including termination:

                    1.      Repeated verbal harassment of a severe or pervasive nature.

                    2.      Personal insults and name-calling.

                    3.      Persistent picking on a person for the butt of jokes, horseplay
                            uncomplimentary remarks or other behavior likely to cause
                            offense.



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                         4.     The maligning or ridiculing of a person directly or to others.

                         5.     Refusal to communicate in a normal collegial way.


         22.     Plaintiff, RYAN SEGEV repeatedly asked for his accommodations to be provided

  to him prior to the beginning of the school year as aforementioned and continued to request his

  accommodations throughout the first semester, including via his academic coach Natalie Capiro.

  In addition, he requested that professors provide him with his accommodations, including but not

  limited to, additional time and assistive technology, and was regularly denied his

  accommodations by his professors.        He persisted throughout the Fall semester with these

  requests, and throughout the Winter semester 2018.

         23.     Plaintiff, RYAN SEGEV, was not granted his accommodations until Mathew

  Roche generated a Letter of Accommodation to Faculty on March 16, 2018, late into the Spring

  2018 semester. Plaintiff RYAN SEGEV was completely denied his accommodations in Fall

  2017 and up until March 16, 2018- over halfway into the Spring semester. At the end of his first

  semester he was already failing, had a .068 GPA, and was placed on academic probation by

  Randi Lesko on December 27, 2017; as such, Defendant LYNN had actual knowledge that

  Plaintiff RYAN SEGEV was in desperate need of his academic accommodations and was failing

  out of school without them; yet, still did not provide his accommodations after the end of the first

  semester and instead punished him for failing by placing him on academic probation. Defendant

  LYNN was already failing Plaintiff RYAN SEGEV at the end of his first semester and

  compromising his education, emotional stability, and economic future causing irreparable harm.

  Defendant actually and effectively denied Plaintiff RYAN SEGEV’S civil and human rights

  under the ADA and Section 504 of the Rehabilitation Act, breached its contract, and violated its

  own policies by refusing to implement his accommodations and then punished him by placing

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  him on academic probation. As Plaintiff RYAN SEGEV’S courses and education are cumulative

  and the second semester was in many ways built upon material from the prior semester, Plaintiff

  RYAN SEGEV was already placed in a position where it was impossible for him to catch up

  when he was finally granted his accommodations over midway into the second semester. The

  psychological and emotional stress of having to bring a GPA .06 to a 2.0 in one semester was

  stifling. In fact, the ONLY way Plaintiff RYAN SEGEV could prevent himself from getting

  kicked out of school in Spring semester would have been to earn a 4.0 without the

  accommodations he was due based on his disability. Not even a 3.9 would have salvaged

  his GPA for purposes of remaining enrolled in school. Even after Plaintiff RYAN SEGEV

  was officially granted his accommodations, he was still not permitted all of the services and

  reasonable accommodations that should have been provided from the very beginning of his

  enrollment and attendance including but not limited to, he was denied the use of assistive

  technology on multiple instances, was denied extra time while taking tests, and was not provided

  any instructor’s notes for any course whatsoever, among other violations.        The numerous

  violations of Plaintiff RYAN SEGEV’S rights caused Plaintiff RYAN SEGEV grievous and

  irremediable harm, thoroughly derailing his education and reasonable anticipated life

  attainments, depriving him of academic and scholarship opportunities and reasonable goals, for

  obtaining financial aid, for obtaining a college degree, causing him serious emotional and

  psychological distress damaging his future career and educational prospects. On May 23, 2018,

  Rand Lesko sent a letter of academic dismissal as Plaintiff RYAN SEGEV carried a cumulative

  GPA of .95 at that time.

         24.     Due to directly and proximately to the lack of the contracted for and promised

  accommodations, i.e. Defendant LYNN’S negligence, breach of contract, etc., Plaintiff RYAN



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  SEGEV performed at what Defendant LYNN deemed an unacceptable academic level.                   In

  addition to denying Plaintiff RYAN SEGEV’S academic accommodations in their entirety for

  seven out of the nine months he was enrolled at Defendant LYNN that academic year, the

  academic support that was provided in the form of tutors was inadequate and the tutors were

  poorly trained and did not understand the subject matter with a level sufficiency to help educate

  and tutor students struggling with the subject. After meeting with several unqualified and poorly

  trained tutors, Plaintiff RYAN SEGEV sought the assistance of his academic coach to find a

  tutor that actually understood the subject matter and could help tutor and teach him; although she

  located a tutor, the new tutor also lacked the ability to teach the subject matter in a meaningful

  way. In general, Defendant LYNN failed and continues to fail to properly hire, train, supervise,

  and retain qualified academic tutors and staff that are well-versed in the subject matter in which

  students need assistance.    In addition, there is nearly no oversight in Defendant LYNN’S

  academic system of the offices and persons responsible for reviewing, granting, and

  institutionalizing the academic accommodations needed by students with disabilities.

  Furthermore, Defendant LYNN violated Federal law under the ADA and the Rehabilitation Act

  by failing to report the violations of Plaintiff RYAN SEGEV’S rights to the monitoring Federal

  legal authorities and the Department of Education as it is required to do when it violates a

  student’s rights under those provisions by denying their academic accommodations and/or failing

  to report when a person accused the institution of a violation so the Department of Education

  and/or Department of Justice can perform an investigation into compliance. Defendant LYNN

  has intentionally withheld this information to avoid punitive measures being taken against the

  school, including the denial of Federal funding.




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         25.     Plaintiff RYAN SEGEV was forced to appeal the school’s decision and

  Defendant LYNN employee, Professor Diane Dicerbo, she bullied him and forced him to write a

  letter stating that it was his fault he did not perform well academically, as a condition of being

  readmitted to pursue his education, instead of admitting that Defendant LYNN systemically

  failed him in so doing violated Federal and State law. On August 2, 2018, Plaintiff RYAN

  SEGEV and his mother spoke with Defendant CATHERINE WHARTON, the new ADA

  compliance officer, as she had read a letter from Plaintiff RYAN SEGEV’S mother regarding

  their grievances with the school. During the conversation Defendant CATHERINE WHARTON

  stated that Plaintiff RYAN SEGEV would return to school, she made an agreement that she was

  willing to work with them, that Plaintiff RYAN SEGEV was never supposed to have more than 4

  classes and should not have been scheduled for six and seven classes per semester, that

  Defendant LYNN would erase his first year grades and credit all of the money as if started from

  scratch, to prevent Plaintiff from moving forward to a lawsuit.        Defendant CATHERINE

  WHARTON said that Plaintiff RYAN SEGEV should have no problem enrolling for next

  semester and he should speak with his academic advisor and move forward. After Plaintiff

  RYAN SEGEV was already in classes Sean Eckstein had Plaintiff RYAN SEGEV sign an

  academic bankruptcy.      Plaintiff RYAN SEGEV was “offered” and accepted an academic

  bankruptcy for the 2017-2018 year, which he was led to believe and agreed to as it was to reflect

  “in house” only and would not reflect on his official transcript.

         26.     Instead, on September 10, 2018, Plaintiff RYAN SEGEV, his mother, and various

  university staff, including at various times Karen Reed, Vivian in Finance, and Greg Cox,

  informed Plaintiff RYAN SEGEV that his academic bankruptcy had been placed on his

  transcript. Furthermore, after Plaintiff RYAN SEGEV was already enrolled in classes, he was



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  called in to pay tuition and he learned that what he previously paid would no longer be credited

  and carry over to the new year as he was promised. It would not be as if he were enrolling for

  the first time, as he had agreed in resolution of his difficulties vis-à-vis the University’s refusal to

  live up to its commitments.

         27.     New tuition was required to be paid before continued attendance at the classes in

  which he was enrolled violating the agreement that he entered with Defendant CATHERINE

  WHARTON and Defendant LYNN.                Furthermore, upon information and belief, Defendant

  LYNN accepted Federal funding for Plaintiff RYAN SEGEV for each semester he attended

  Defendant LYNN, and it was never returned or refunded to the Federal government.

         28.     At a meeting immediately thereafter with Greg Cox, the Vice President of

  Academics, in the last ditch effort by Plaintiff RYAN SEGEV to resolve their issues to the

  benefit of his education, attempted to bully Plaintiff RYAN SEGEV in the presence of his

  mother, who is his designee and to coerce and influence Plaintiff RYAN SEGEV to agree that

  he, Plaintiff RYAN SEGEV, was in the wrong.

         29.     Following these meetings, Plaintiff RYAN SEGEV was in serious emotional and

  psychological distress, disappointed, and highly concerned about the consequent damage to his

  academic and future professional career prospects.

         30.     On September 11, 2018, Lorna Fink, Defendant LYNN’S Compliance Officer,

  was contacted by Plaintiff RYAN SEGEV through his mother. There was strong concern that

  Plaintiff RYAN SEGEV would be further harassed and bullied on campus unless resolution

  could be reached, especially in light of Greg Cox’s conduct and behavior toward Plaintiff RYAN

  SEGEV.




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         31.     Following upon the failure of Defendant LYNN to properly alleviate Plaintiff

  RYAN SEGEV’s academic and school situation, and in light of their breach of contract, breach

  of duty under the ADA and Section 504, fraud, negligence, etc., Plaintiff RYAN SEGEV

  withdrew from the University. Defendant LYNN clearly prioritizes its financial profit from

  students and continued Federal assistance over providing a quality academic environment where

  students with disabilities will receive their accommodations and flourish to become productive

  adults and members of society.

         32.     To date Defendant LYNN states that Plaintiff RYAN SEGEV owes it tuition, etc.,

  and have refused to provide him his official transcript, nor to make it available, and has failed to

  remove the academic bankruptcy from his official transcript, and also attempted to have the

  situation remedied by the ADA Compliance officer Lora Fink.

                                              COUNT I

                       BREACH/VIOLATION of SECTION 504 OF THE
                       REHABILITATION ACT OF 1973, AS AMENDED

         33.     Plaintiff RYAN SEGEV incorporates herein by reference paragraphs 1 through 32

  of this pleading.

         34.     The Rehabilitation Act of 1973, as amended, was the first disability civil rights

  law to be enacted in the United States. It prohibits discrimination in programs that receive

  federal financial assistance.

         35.     Section 504 of The Rehabilitation Act of 1973, as amended, was the first

  disability civil rights law to be enacted in the United States. It prohibits discrimination in

  programs that receive federal financial assistance, 504 requires that students with disabilities

  have the right to receive reasonable accommodations in the pursuit of their education. Section

  504 specifically states in material part: “no qualified handicapped person shall, on the basis of

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  handicap, be excluded from participation in, be denied the benefits of, or otherwise be subjected

  to discrimination under any program or activity which receives federal financial assistance.

         36.     Defendant LYNN receives federal funding for research and development and for

  other purposes.

         37.     Defendant LYNN University, as set forth in Paragraph 16 et. seq. hereinabove,

  had an obligation to provide Plaintiff RYAN SEGEV the opportunity to achieve his academic

  and individual potential, to make reasonable accommodations for him in order that that

  opportunity be able to succeed.

         38.     Defendant LYNN’S overall reasonable accommodations program as applied in

  Plaintiff RYAN SEGEV’s case failed to comply with section 504 standards, and breached and

  violated them, in several ways, included but not limited to:

                 a.     failing to provide proper access;

                 b.     failing to provide reasonable accommodation for Plaintiff RYAN

                        SEGEV’s known disabilities;

                 c.     filing to provide adequate and appropriate means of

                        remediation;

                 d.     failing to honor its own published standards of integrity and

                        honesty as it came to satisfy Plaintiff RYAN SEGEV’s reasonable

                        accommodations;

                 e.     misrepresenting the academic accommodations that Defendant LYNN

                        would make, contrary to its written general academic policies

                        and regulations;

                 f.     knowingly, intentionally, negligently, carelessly, and with



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                         deliberate indifference, etc., depriving Plaintiff RYAN SEGEV, as a result

                         of his known disabilities, of his civil rights to a discrimination free

                         program of education;

                 g.      discrimination after applied accommodation for the use of

                         electronic assisted device for testing;

                 h.      by taking adverse actions against Plaintiff RYAN SEGEV and noting an

                         academic bankruptcy on his transcript.

         39.     Even if Defendant LYNN’S program and regulations thereto are not flawed on

  their face, and Plaintiff RYAN SEGEV disputes that contention, this flawed enforcement of the

  guidelines and regulations, i.e. of Section 504 as interpreted by Defendant LYNN, filed to

  protect Plaintiff RYAN SEGEV within the protections provided by those guidelines and

  regulations.

         40.     Plaintiff RYAN SEGEV suffered an erroneous outcome when, as a result of their

  failure to fulfill reasonable accommodations for his disabilities Defendant LYNN encouraged

  and bullied an academic bankruptcy that Plaintiff RYAN SEGEV did not understand, loss of

  financial resources, resulting in his withdrawal from the university under great emotion distress,

  pain and anxiety, as well as disengagement from his opportunity and plan for his academic and

  individual and career potential.

         41.     Defendant LYNN’S violations/breach of obligations under Section 504 of the Act

  caused Plaintiff RYAN SEGEV to sustain tremendous damages, as well as the loss of education,

  career and scholarship opportunities, and other direct and consequential damages.




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          42.     Plaintiff RYAN SEGEV is entitled to compensatory damages and to be made

  financially whole for the harm he suffered as a result of Defendant LYNN’S violation of its

  Section 504 obligations.

          43.     As a result of the Defendant LYNN’S foregoing wrongful actions, Plaintiff

  RYAN SEGEV is entitled to damages in an amount to be determined at trial, plus tuition paid

  and owing, plus pre-judgment interest, attorney’s and expert witness fees, release of his official

  transcript, and court costs and disbursements.

                              COUNT II – SECOND CLAIM FOR RELIEF

           BREACH/VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF
           1972, AS AMENDED BY THE AMERICAN’S WITH DISABILITIES ACT
                              AMENDMENTS ACT OF 2008

          44.     Plaintiff incorporates herein paragraphs 1 through 32 of this pleading.

          45.     The Americans with disabilities Act of 1972, as amended by the Americans with

  Disabilities Act Amendments Act of 2008, is a comprehensive federal civil rights law. It

  prohibits discrimination against applicants with disabilities. Persons with disabilities, included

  learning disabilities, which substantially limit major life activities, such as reading and learning,

  are protected under the ADA.

          46.     The ADA defines disability as a legal term rather than a medical one. A disabled

  person is a person who has a physical or mental impairment that substantially limits one or more

  major life activities.

          47.     Under the ADA, businesses and governments, as well as and those that receive

  federal aid and assistance, are required to make accommodations for persons who are legally

  disabled.




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         48.     Plaintiff RYAN SEGEV had both a record of disability and impairment known to

  Defendant LYNN and was regarded as having such impairment.

         49.     Defendant LYNN receives federal funding for research and development and for

  other purposes.

         50.     Defendant LYNN University, as set forth hereinabove in Paragraph 16 et. seq.,

  had an obligation to provide Plaintiff the opportunity to achieve his academic and individual

  potential, to make reasonable accommodations for him in order that that opportunity be able to

  succeed.

         51.     Defendant LYNN’S overall reasonable accommodations program as applied in

  Plaintiff’s case failed to comply with ADA standards and breached and violated them, in several

  ways, included but not limited to:

                 a.     failing to provide proper access;

                 b.     failing to provide reasonable accommodations for Plaintiff RYAN

                        SEGEV’s known disabilities;

                 c.     failing to provide adequate and appropriate means of

                        remediation;

                 d.      failing to honor its own published standards of integrity and

                        honesty as it came to satisfying Plaintiff RYAN SEGEV’s reasonable

                        accommodations;

                 e.     misrepresenting the academic accommodations that Defendant LYNN

                        would make, contrary to its written general academic policies

                        and regulations;

                 f.     knowingly, intentionally, negligently, carelessly, and with



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                        deliberate indifference, etc., depriving Plaintiff RYAN SEGEV, as a result

                        of his known disabilities, of his civil rights to a discrimination free

                        program of education; including but not limited to, denying his reasonable

                        accommodations and then punishing him by placing him on academic

                        probation and ultimately dismissing him from the school;

                g.      by taking adverse actions against Plaintiff RYAN SEGEV and noting an

                        academic bankruptcy on his transcript.

         52.    Plaintiff RYAN SEGEV suffered a harmful outcome when, as a result of their

  failure to fulfill reasonable accommodations for his disabilities when Defendant LYNN

  encouraged and bullied an academic bankruptcy that Plaintiff did not understand, resulting in his

  withdrawal from the university under great emotion distress, pain and anxiety, as well as

  disengagement from his opportunity and plan for his academic and individual and career

  potential.

         53.    Defendant LYNN’S violations/breach of obligations under the ADA caused

  Plaintiff RYAN SEGEV to sustain tremendous damages, including, without limitation,

  emotional distress, physical distress, economic injuries, reputation damages, as well as the loss

  of education, career, and scholarship/financial aid opportunities, and other direct and

  consequential damages.

         54.    Plaintiff RYAN SEGEV is entitled to compensatory damages and to be made

  financially whole for the harm he suffered as a result of Defendant LYNN’S violations of its

  ADA obligations.

         55.    As a result of the Defendant LYNN’S, foregoing wrongful actions, Plaintiff is

  entitled to damages in an amount to be determined at trial, plus tuition paid and owing, plus



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  prejudgment interest, attorney’s fees and expert witness fees, release of his official transcript,

  and court costs and disbursements.


                              COUNT III – THIRD CLAIM FOR RELIEF

                                        BREACH OF CONTRACT

         56.     Plaintiff incorporates herein paragraphs 1 through 32 of this pleading.

         57.     Under applicable law, Defendant LYNN had contractual obligations to the

  Plaintiff RYAN SEGEV. This included obligations under the Student Code of Conduct Section

  504 of the Rehabilitation Act of 1973, as amended; the Americans with Disabilities Act of 1972,

  as amended by the Americans with Disabilities Act Amendments Act of 2008; and other

  university policies affecting students. Defendant LYNN created both express, implied, and

  verbal agreements when Plaintiff RYAN SEGEV accepted its offer of admission to Defendant

  LYNN, paid the tuition and fees for his first and second semester, as well as an additional

  $5,000.00 in fees and costs each semester for the reasonable accommodations to be provided,

  and started attending classes and became a fully enrolled student.

         58.     Defendant LYNN committed to, contracted for and advertised that it allows its

  community of members, necessarily including Plaintiff RYAN SEGEV, to live and study in a

  discrimination free environment.

         59.     Defendant LYNN committed to, contracted for and advertised that it allows its

  community of members, necessarily including Plaintiff RYAN SEGEV, to live in an

  environment with reasonable accommodations.

         60.     Defendant LYNN failed to provide reasonable accommodations, failed to provide

  a discrimination free environment, bullied Plaintiff RYAN SEGEV, committed substantive and




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  procedural missteps, etc., all of which led to LYNN’S breach of contract and Plaintiff RYAN

  SEGEV’s necessity to withdraw from the university.

         61.       Defendant    LYNN’S      discrimination,    failure    to   provide   reasonable

  accommodations, deliberate indifference to Plaintiff RYAN SEGEV, breached its own contract

  and policies, as well as the implied covenants of good faith and fair dealing.

         62.       Plaintiff RYAN SEGEV’s breach of contract was the proximate cause of Plaintiff

  RYAN SEGEV’s injuries, and the resultant direct and consequential damages and injuries.

         63.       Plaintiff is entitled to recover damages for Defendant LYNN’S breach of the

  express and/or implied and/or verbal contractual obligations delineated hereinabove, to be made

  financially and otherwise whole, and for attorney’s and expert witness fees and costs, and

  disbursements.

                               COUNT IV – FOURTH CLAIM FOR RELIEF

                BREACH OF COVENANT OF GOOD FAITH, AND FAIR DEALING

         64.       Plaintiff incorporates herein by reference paragraphs 1 through 32 of this

  pleading.

         65.       Based on the aforementioned facts and circumstances, Defendant LYNN breached

  and violated a covenant of good faith and fair dealing implied in the agreements with Plaintiff by

  failing to comply with Section 504, by failing to comply with the ADA, by failing to comply

  with their own rules and regulations, and by not complying with the Student Code of Conduct

  and the 2017-2018 Academic Catalog.

         66.       As a direct and foreseeable consequences of these breaches, Plaintiff RYAN

  SEGEV sustained tremendous damages, including, without limitation, emotional and




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  psychological distress, economic injuries, reputation damage, as well as the loss of education,

  career, and scholarship opportunities, and other direct and consequential damages.

          67.     Plaintiff RYAN SEGEV is entitled to recover damages in an amount to be

  determined at trial, plus prejudgment interests, attorney’s fees, expenses, cost and disbursements.

                                 COUNT V – FIFTH CLAIM FOR RELIEF

                                            INJUNCTIVE RELIEF

          68.     Plaintiff incorporates herein by reference paragraphs 1 through 32 of this

  pleading.

          69.     By virtue of Defendant LYNN’S violation of Plaintiff RYAN SEGEV’s

  contractual, due process and equal protection rights, including those under Section 504 of the

  Rehabilitation Act of 1973, as amended, and of the Americans with Disabilities Act of 1972, as

  amended by the Americans with Disabilities Act Amendments Act of 2008, as well as bullying.

  Plaintiff has suffered irreparable harm for which money damages are an inadequate remedy.

          70.     To address that harm, Plaintiff RYAN SEGEV is entitled to injunctive relief from

  this Honorable court ordering Defendant LYNN to expunge negative items on his official

  transcript and releasing his official transcript.

           COUNT VI – FRAUD AGAINST DEFENDANT LYNN, DEFENDANT MIGUEL

                      ATUNES, AND DEFENDANT CATHERINE WHARTON

          71.     Plaintiff RYAN SEGEV incorporates herein by reference paragraphs 1 through 32

  of this pleading.

          72.     Defendant LYNN by and through its employees, including but not limited to

  Assistant Director of Admissions, Defendant MIGUEL ATUNES, made false statements of

  material fact and/or intentionally misled Plaintiff RYAN SEGEV when it promised to provide



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  Plaintiff RYAN SEGEV’s reasonable accommodations when he began attending classes, in light

  of the fact the Plaintiff RYAN SEGEV was participating in late enrollment and the semester was

  already two weeks in. Defendant LYNN by and through its employees intended that Plaintiff

  RYAN SEGEV and his mother would rely on the false statement of material fact, so that

  Plaintiff RYAN SEGEV would pay his $37,000.00 tuition fee to Defendant LYNN. The email

  from Defendant MIGUEL ATUNES stating that Defendant LYNN was “trying” to squeeze

  Plaintiff RYAN SEGEV into the semester, is concrete evidence that Defendant LYNN in fact did

  not know with certainty that it could provide Plaintiff RYAN SEGEV’s academic

  accommodations in time. Defendant CATHERINE WHARTON, Defendant LYNN’s ADA

  Compliance Officer also made false statements of material fact and/or intentionally mislead

  Plaintiff RYAN SEGEV when she promised to provide Plaintiff RYAN SEGEV a fresh slate at

  school, wipe his academic record clean and refund his tuition so he could start from scratch, to

  avoid litigation and to entice Plaintiff RYAN SEGEV to enroll back into school. In reality, after

  Plaintiff RYAN SEGEV enrolled back into classes he was given an academic bankruptcy which

  reflected on his transcript and was not credited the prior tuition he paid and was asked to pay

  new tuition funds.

         73.    Plaintiff RYAN SEGEV reasonably relied upon the misrepresentation as it was

  made by Defendant LYNN’S Assistant Director of Admissions, Defendant MIGUEL ATUNES,

  a person in a position of authority upon whose word Plaintiff RYAN SEGEV should have been

  able to reasonably rely. Plaintiff RYAN SEGEV reasonably relied upon the misrepresentation as

  it was made by Defendant LYNN’S ADA Compliance Officer, Defendant CATHERINE

  WHARTON, a person in a position of authority upon whose word Plaintiff RYAN SEGEV

  should have been able to reasonably rely.



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         74.     As aforementioned, Plaintiff RYAN SEGEV was actually damaged and suffered

  harm including financial loss of tuition, an academic bankruptcy reflects on his official

  transcript, he suffered emotional and psychological injuries and damages, and economic and

  compensatory damages that will continue into the future as the academic bankruptcy interferes

  with and will continue to interfere with, his ongoing academic education and ability to obtain

  gainful employment.

         75.     Plaintiff RYAN SEGEV is entitled to recover damages in an amount to be

  determined at trial, plus prejudgment interests, attorney’s fees, expenses, cost and disbursements.

  To address that harm, Plaintiff is entitled to injunctive relief, compensatory damages, emotional

  pain and suffering, and punitive damages in excess of $75,000.00.

                                      COUNT VII – NEGLIGENCE

         76.     Plaintiff RYAN SEGEV incorporates herein by reference paragraphs 1 through 32

  of this pleading.

         77.     Defendant LYNN owed numerous duties to Plaintiff RYAN SEGEV as

  enumerated above, including but not limited to, providing for his academic accommodations,

  providing him with proper academic support and tutoring services, complying with the

  obligations and duties imposed through its policies, handbooks, contracts and agreements with

  Plaintiff RYAN SEGEV. At all times material hereto, the employees responsible for acting out

  the duties owed to Plaintiff RYAN SEGEV, were in the course and scope of their employment

  with Defendant LYNN UNIVERSITY; and as such, Defendant LYNN UNIVERSITY is liable

  for their actions and inactions.

         78.     Defendant LYNN breached the duties owed to Plaintiff RYAN SEGEV directly

  and via its employees misconduct, actions, and omissions, including but limited to, its employees



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  failure to grant Plaintiff RYAN SEGEV his academic accommodations for over 7 months and

  even after he was failing out of school and on academic probation, its failure to provide proper

  academic support and competent tutors, its employees consistent denial of Plaintiff RYAN

  SEGEV’s accommodations and rights even subsequent to the accommodations being granted by

  Defendant LYNN.

         79.       Defendant LYNN’S numerous breaches of the duties owed to Plaintiff RYAN

  SEGEV directly and proximately caused him suffer damages including receiving a low GPA at

  the end of his first semester and being placed on academic probation, to him being removed from

  school after his second semester, to him suffering an academic bankruptcy that now reflects on

  his official transcript, to loss of financial assets in tuition, and will continue to cause ongoing

  economic damages, compensatory damages, and emotional pain and suffering into the

  foreseeable future for which Plaintiff RYAN SEGEV seeks monetary relief in excess of

  $75,000.00 and injunctive relief. Plaintiff RYAN SEGEV is entitled to recover damages in an

  amount to be determined at trial, plus prejudgment interests, attorney’s fees, expenses, cost and

  disbursements.

               COUNT VIII – NEGLIGENT HIRING, TRAINING, SUPERVISING, AND
                                   RETENTION

         80.       Plaintiff RYAN SEGEV incorporates herein by reference paragraphs 1 through 32

  of this pleading.

         81.       Defendant LYNN owed numerous duties to Plaintiff RYAN SEGEV as

  enumerated above, including but not limited to, providing for his academic accommodations,

  providing him with proper academic support and tutoring services, complying with the

  obligations and duties imposed through its policies, handbooks, contracts and agreements with

  Plaintiff RYAN SEGEV. At all times material hereto, the employees responsible for acting out

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  the duties owed to Plaintiff RYAN SEGEV, were in the course and scope of their employment

  with Defendant LYNN UNIVERSITY; and as such, Defendant LYNN UNIVERSITY is liable

  for the actions and inactions.

         82.     Defendant LYNN breached the duties owed to Plaintiff RYAN SEGEV directly

  and via its employees misconduct, actions, and omissions, including but limited to, failing to hire

  proper and competent staff and tutors, failing to supervise and train its admissions employees

  and officers, disability and accommodations departments and employees and officers,            and

  employees and staff members whom should have contributed to the academic success of Plaintiff

  RYAN SEGEV. In addition, Defendant LYNN negligently retained and/or failed to retrain said

  employees and staff members even after becoming aware of their incompetence, including

  having actual knowledge of its tutors inability to perform their jobs, knowledge of the

  admissions office false promises and misrepresentations to students regarding Defendant

  LYNN’S ability to implement academic accommodations in the promised timeframe, the

  inability and/or refusal of the person’s responsible for granting and implementing academic

  accommodations in a timely and complete manner, and its professors’ refusal to provide the

  lawfully required academic accommodations to students.

         83.     Defendant LYNN’S numerous breaches of the duties owed to Plaintiff RYAN

  SEGEV directly and proximately caused him suffer damages including receiving a low GPA at

  the end of his first semester and being placed on academic probation, to him being removed from

  school after his second semester, to him suffering an academic bankruptcy that now reflects on

  his official transcript, to loss of financial assets in tuition, and will continue to cause ongoing

  economic damages, compensatory damages, and emotional pain and suffering into the




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  foreseeable future for which Plaintiff RYAN SEGEV seeks monetary relief in excess of

  $75,000.00 and injunctive relief.

             84.   Plaintiff RYAN SEGEV is entitled to recover damages in an amount to be

  determined at trial, plus prejudgment interests, attorney’s fees, expenses, cost and disbursements.

                                       PRAYER FOR RELIEF

             WHEREFORE, Plaintiff RYAN SEGEV respectfully requests that this Court award the

  following damages against Defendant LYNN, pursuant to Florida Statutes and the laws of the

  State of Florida, and Federal law, including but not limited to the following:

                   a.     Award compensatory and actual damages to Plaintiff;

                   b.     Award attorneys’ fees and costs of this action to Plaintiff;

                   c.     Award punitive damages to Plaintiff;

                   d.     Award injunctive relief to Plaintiff;

                   e.     Any and all other and further relief as this Court may deem appropriate.

             WHEREFORE, Plaintiff RYAN SEGEV demands damages in an amount in excess of

  SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), together with post judgment interest

  and costs.

                                           TRIAL BY JURY

              WHEREFORE, Plaintiff RYAN SEGEV hereby demands a trial by jury on all issues so

  triable.


  DATED this 10th day of September, 2019.

                                                                  Respectfully submitted,

                                                                  _/s/Jasmine Rand________
                                                                  Jasmine Rand, Esquire
                                                                  FBN: 0077047

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                                                        Attorney for Plaintiff


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

  via Summons to all Defendants.


                                                        Respectfully submitted,

                                                        /s/Jasmine Rand
                                                        Jasmine Rand, Esquire
                                                        FBN: 0077047
                                                        Attorney for Plaintiff




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